Case 2:15-cr-14046-JEM Document 439 Entered on FLSD Docket 02/22/2016 Page 1 of 5




                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT OF FLORIDA
                        CASE NO.IS-I4O46-CR-MARTINEZ/LYNCH
  UNITED STATES O F AM ERICA ,
         Plaintiff,
                                                 FILED jy           D.C.
  V.

  TIMOTHY DALE REID,
                                                    FE8 $S 2û!6
                                                              .
                                                    STEVEN M LARIMORE
         Defendant.                                  CLERKub,Dls'
                                                                rcT.
                                                   s.D,ol
                                                        rFV .-F'
                                                               cFIERCE
                                         /
                         REPO RT AND RECO M M ENDATIO N O N
                  APPROPRIATENESS O F CO UNSEL'S CJA VO UCHER
                   FO R ATTO RNEY'S FEES IVO UCHER #FLS 15-50241
        THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher

  as referred bythe DistrictCoud and this Coud having reviewed the voucherofM r.Garcia,
  his Motion forAuthorization to W aive Statutory M axim um ForAttorneys Fees attached

  thereto aswellasthe time records andotherdocum entation,and thisCourtotherwise being

  advised in the prem ises recom m ends to the DistrictCourtas follows:

                The CJA Adm inistratorhas adjusted the hours and amounts setforth in the
  CJA Vouchersubm itted by counselforthe Defendant, The Administratorhas adjusted
  these to correctly reflectthe tim e devoted to eachtaskand the applicable hourly rate w hich

  varied during the tim e thatthe Defendantwas represented by M r.Garcia.

         2.     Based upon these adjustments,the CJA Voucherseeks reimbursementof
  4.0 hoursofin-courttime totaling $508.00. The voucherseeks reimbursementofout-of-
  coud tim e of145.9 hours totaling $18,529.30. Therefore,the totalam ountofattorney's
  feessoughtasadjustedbytheClAAdministratoris$19,037.30whichexceedsthestatutory
  cap of $9,900.00. This Court notes that travelexpenses in the am ountof $1,531.80
  togetherwith otherexpenses in the am ountof$78.55 are listed on the voucheraswell.
Case 2:15-cr-14046-JEM Document 439 Entered on FLSD Docket 02/22/2016 Page 2 of 5




  There appears to be sufficient reason to have incurred those expenses and the

  docum entation appears to be sufficientto suppod the requestforreim bursem entofthose

  two categories ofexpenses.Therefore,this Coud w illaddress only the attorney's fees

  issues fudher.

               M r.Garcia attaches a M otion forAuthorization to W aive Statutory Maxim um

  forAttorneys Fees explaining w hy his voucherexceeds the statutory cap. This Courthas

  reviewed his voucher,the attachm ents,as wellas his Motion. There were no extensive

  hearings in this case. Representation by M r.Garcia began in Septem ber2015. The

  Defendantentered a change ofplea before this Coud on October26,2015. This Court

  issued its Repod and Recomm endation to the DistrictCoud in respectto thatchange of
  plea.The Defendantwasthereaftersentenced bythe DistrictCourton Decem berzl,2015.

        4.     This is an adm inistrative decision as opposed to an adversarialproceeding

  asdelineatedinUni
                  tedStatesv,Griggs,24O F.3d974 (11tbCir.2001).Additionally,itisnot
  necessaryforthisCoud to conductan evidentiary hearing since this Coud conducted allof

  the pretrialproceedings including the Defendant's change ofplea hearing as referenced

  above,

        5.     The attorney's fees sought by Mr. Garcia exceed the statutory cap of

  $9,900.00 as recently adjusted in 18 U.S.C.j3OO6A(d)(3). Therefore,this Coud m ust
  determ ine whetherthere issufficientjustificationtowaive orexceedthatstatutorycap,In
  doing so,this Courtm ustdeterm ine ifthe m atterwas ''extended''or''com plex''as defined

  in the statute and the applicable case Iaw.
        6.      W hile the underlying charges againstthe Defendantin this case were ofa

  very serious nature,that in and of itselfdoes notresultin the case being classified as


                                                2
Case 2:15-cr-14046-JEM Document 439 Entered on FLSD Docket 02/22/2016 Page 3 of 5




  ''com plex''and/orS'extended''as defined in the case law which this Courtm ustfollow. This

  Coud does notdispute thatthere m ay have been volum inous discovery in this case and
  som e issues w hich had to be resolved atthe tim e ofsentencing. Nevedheless,those

  issues do notraise this case to the Ievelofbeing ldcom plex''orltextended.''

                ThisCoud rem ainsguided bythe definitionspreviouslyestablished concerning
  w hatis considered to be ''com plex''or'iextended.'' An S'extended''case is one requiring

  m ore tim ethan norm alundersim ilarfacts and circum stances.A 'lcom plex''case isdefined

  asone involvingfactsso unusualastojustifythe expenditure ofm ore time,skilland effod
  thana normalcase.See Eason v.UnitedStates,2010W L5575741(S.D.Fla.2010)and
  Uni
    ted Statesv.Moreira,2009W L362095 (S.D.Fla.2009).
         8.     This Coud cannot in good faith find this case to be eitherl'extended''or

  ''com plex.''The case proceeded in a normalfashion.As referenced herein,there were no
  extensive hearings norevidentiary issues decided by this Coud northe DistrictCoud.The

  case was resolved byway ofentry ofa guilty plea by the Defendant.Therefore,this Court

  finds thatthis case does notqualify as eitherextended or com plex as set fodh in the

  guidelines this Coud is required to follow .
         9.     As always,this Coud appreciates the willingness of M r.G arcia and other

  com petentcounselto offertheirsem ices to the Courtforappointm entunderthe Crim inal

  Justice Actw hen there is conflictwith the FederalPublic Defender. In reviewing CJA

  vouchers,this Courtm ustperform a gatekeeperfunction to balance the entitlementofa

  padiculardefendantto com petentrepresentation and the abili
                                                            ty ofthe courtappointed

   counselto be fully com pensated. However,this Coud m ust balance the right ofcourt
   appointedcounselto receiveadequate com pensation forsuchrepresentationto anindigent


                                                 3
Case 2:15-cr-14046-JEM Document 439 Entered on FLSD Docket 02/22/2016 Page 4 of 5




  defendant,fully m indfulthat there are Iim ited CJA funds available in this District and
  nationw ide forpaym entofsuch services. Congress has seen fi
                                                             tto reduce the amounts of

  funds fordefenderservices nationw ide overthe pastseveralyears,including funds for

  paym ent of Crim inalJustice Act conflict counsel. This Court m ust m ake certain that

  defense counselisadequatel
                           ycom pensated,evenifitdoesnotrepresentfullcom pensation

  for services rendered. Additionally,this Coud m ust m ake certain that such am ounts
  exceeding the statutory cap as requested herein by M r.Garcia are notpaid unlessthere is

  sufficientjustificationundertheapplicablecase Iaw andstatutoryframeworkwhichgoverns
  this Court's review ofsuch m atters.
         10.   lfthis Court,and othercourts,did notprovide this gatekeeperfunction,the

  im pacton the availabilityofCJA funds to indigentdefendants in the future would be m uch

  m ore severe than itis underthe presentbudgetary constraints.

         11, lnreducingtheamountsoughtbyMr.Garciatothestatutorycapof$9,900.00
  plustraveland otherexpenses,thisCoud isnotquestioning in anywaythetasks perform ed

  northe time devoted to those tasks.ThisCoud is required to m erely m ake a determ ination

  thatunderthe statutoryfram eworkand definitionswhichthis Courtis required to follow,that
  this case doesnotm eetthe definitions ofeitherbeing S'extended''norS'com plex.'' Bydoing

  this,this Coud is hoping to m ake cedain thatin the future there w illbe funds available for

  otherindigentdefendants who have notyetbeen arrested orcharged. ln otherwords,

   couds cannotdeplete aIIofthe defenderservices as we go along and then tryto figure out

  a way to com pensate counselforthose otherindigentdefendants inthe future w ho willalso

   need coud appointed counsel.




                                               4
Case 2:15-cr-14046-JEM Document 439 Entered on FLSD Docket 02/22/2016 Page 5 of 5




        12.    As a resultofthe foregoing findings,M r.Garcia's recovery ofattorney's fees

  isIimitedtothe statutorycapof$9,900.00 plustravelexpensesintheamountof$1,531.80
  and otherexpenses inthe amountof$78.55,fora totalsum of$11,510.35.
        ACCO RDINGLY,thisCoud recom mends to the DistrictCoud thatthe CJA Voucher

  #FLS 15-5024 be G RANTED insofaras M r.Garcia be awarded the statutory m axim um of

  $9,900.00 as reasonable attorney's fees togetherw ith travelexpenses in the amountof
  $1,531.80 and otherexpensesinthe amountof$78.55,fora totalsum of$11,510.35.
        The padies shallhave foudeen (14) days from the date of this Report and
  Recom mendationwithinwhichtofileobjections,ifany,withtheHonorableJoseE.Madinez,
  the United States DistrictJudge assigned to this case. Pursuantto FederalRules of

  CriminalProcedure,Rule 59(b)(2),failureto file objections timelywaivesa pady'srightto
  review and bars the parties from attacking on appealany Iegalrulings and factualfindings

  contained herein.
        DO NE AND SUBM ITTED this                 e -day of February,2016,atFod Pierce,
                                         F

  Nodhern Division ofthe Southern DistrictofFlorida.

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                                             F    K J.LY H,JR.
                                             UNITED AT         TRA           UDG E

  Copies furnished:
  Hon.Jose E.Martinez
  Ruben M .G arcia,Esq.
  Jean Vera,CourtRepoderCoordinater/clA Deputy Clerk




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